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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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        UNITED STATES OF AMERICA,                            CASE NO. CR11-5408RJB
11
                                Plaintiff,                   ORDER DENYING MOTION FOR
12                                                           ORDER TO STRIKE DEMAND FOR
                v.                                           DISCOVERY
13
        ALEXANDER WALLS and REGINALD
14      IRVIN,
15                              Defendant.

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            This matter comes before the court on the Motion to Strike Demand for Discovery (Dkt.
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     123). Because it appears to the court that the motion is based on a misunderstanding, the court
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     chooses to rule summarily without waiting for response.
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            Plaintiff moves to strike the demand for discovery and related relief (Dkt. 118), and
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     related documents (Dkts. 119, 120, 121 and 122). The subject documents are not motions
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     directed to the court, but are requests directed to the plaintiff. They require no action on the part
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     of the court, and the plaintiff may accede to the demands made, or not, as they choose in their
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     professional judgment. Accordingly, there is no reason to strike those documents.
24

     ORDER DENYING MOTION FOR ORDER TO
     STRIKE DEMAND FOR DISCOVERY- 1
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 1         For the foregoing reason, the Motion to Strike Demand for Discovery (Dkt. 123) is

 2 hereby DENIED.

 3         The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 4 to any party appearing pro se at said party’s last known address.

 5         Dated this 27th day of September, 2012.



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                                         ROBERT J. BRYAN
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                                         United States District Judge
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     ORDER DENYING MOTION FOR ORDER TO
     STRIKE DEMAND FOR DISCOVERY- 2
